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                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA

Kitsch LLC                                                            CASE NUMBER

                                                       Plaintiff(s)                     2:19-cv-02556-JAK-RAO
                                     v.
Deejayzoo, LLC                                                               ORDER ON REQUEST FOR APPROVAL
                                                                             OF SUBSTITUTION OR WITHDRAWAL
                                                     Defendant(s)
                                                                                       OF ATTORNEY

         The Court hereby orders that the request of:

Deejayzoo, LLC                                           Plaintiff      Defendant        Other
                     Name of Party

to substitute A. Eric Bjorgum                                                                                           who is

           Retained Counsel                Counsel appointed by the Court (Criminal cases only)                    Pro Se

119 E. Union Street, Suite B
                                                                Street Address
      Pasadena, CA 91103                                                         eric.bjorgum@kb-ip.com
                             City, State, Zip                                                     E-Mail Address

         213-785-8070                                                                             198392
                     Telephone Number                           Fax Number                                 State Bar Number

as attorney of record instead of Vivek Jayaram, Elizabeth Austermuehle
                                                     List all attorneys from same firm or agency who are withdrawing.




is hereby             X GRANTED                 DENIED

The clerk is hereby ordered to terminate Notices of Electronic Filing for the withdrawing attorney(s) in this case.


         Dated           October 15, 2021
                                                                         U. S. District Judge



G–01 ORDER (09/17)           ORDER ON REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF ATTORNEY
